                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Lynchburg Division

JEREMY CORBIN,                                        )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )      Case No.: 6:22-CV-12
                                                      )
SONYA MOVASSAGHI, DMD;                                )      RULE 26(f) REPORT AND
                                                      )      DISCOVERY PLAN
                                                      )
KAREN WOODSON, RNC;                                   )
                                                      )
GOUTOM BHOWMICK, DDS;                                 )
                                                      )
THOMAS, RN;                                           )
                                                      )
and                                                   )
                                                      )
TAMIKA MITCHELL, RN ,                                 )
                                                      )
        Defendants.                                   )




                       RULE 26(f) REPORT AND DISCOVERY PLAN

Pursuant to Federal Rule of Civil Procedure (FRCP) 26(f), on May 24 via telephone conference,
the following parties to this action met and conferred on the topics outlined in this report and
discovery plan:

Counsel for Plaintiff: Daniel H. Goldman, Esq. and Evan M. Goldberg, Esq.
Counsel for Defendant Movassaghi: Matthew E. Kelley, Esq. and Nathan H. Schnetzler, Esq.
Counsel for Defendants Bhowmick, Mitchell and Woodson: Anthony S. Cottone, Esq. and Connor
Bleakley, Esq.

1.    Initial Disclosures: The parties agree to exchange the initial disclosures required under FRCP
      26(a)(1) no later than June 30, 2022.

2.    Anticipated Discovery: The parties jointly propose to the Court discovery on the following
      topics:

        Plaintiff plans to conduct discovery on Dillwyn Correctional Center medical and dental
        policies, Defendants’ employment information, and Plaintiff’s medical and prison records.
        Such discovery would consist primarily of fewer than ten depositions and include some
        interrogatories and requests for production.
     Defendant Movassaghi plans to conduct discovery on all claims and defenses including,
     but not limited to, Plaintiff’s prior dental and medical history, Plaintiff’s alleged attempts
     to seek dental care prior to, during, and after his incarceration at Dillwyn Correctional
     Center, dental care provided to Plaintiff by Dr. Movassaghi, and dental care provided to
     Plaintiff subsequent to the termination of the patient/dentist relationship between Plaintiff
     and Dr. Movassaghi.

     Defendants Bhowmick, Mitchell, and Woodson plan to conduct discovery on all claims
     and defenses including, but not limited to, Plaintiff’s prior dental and medical history,
     Plaintiff’s alleged attempts to seek dental care prior to, during, and after his incarceration
     at Dillwyn Correctional Center, dental care provided to Plaintiff by Dr. Bhowmick, any
     medical care provided by Defendants Mitchell and Woodson, and dental care provided
     subsequent to any care provided by Dr. Bhowmick.

3.   Discovery Schedule: The parties jointly propose the following discovery deadlines:

     (a)    Plaintiff shall make initial expert disclosures under under FRCP 26(a)(2) by
            December 6, 2022.
     (b)    Defendants shall make initial expert disclosures under FRCP 26(a)(2) by February
            6, 2023.
     (c)    The parties shall complete all fact and expert discovery by March 14, 2023

4.   Treatment of Electronically Stored Information: The parties do not anticipate
     extensive discovery of electronically-stored information (“ESI”), but in the event there is
     more extensive ESI than currently anticipated, and that an ESI protocol becomes
     necessary or desirable and is requested by any party, the parties have agreed to meet-and-
     confer and propose an ESI protocol to the Court at that time.

5.   Privilege Claims: The parties agree that no written discovery request is understood to
     seek attorney-client communications or internal documents created by the attorneys
     representing a party in this matter if such documents were not communicated to or shared
     with a non-party. The parties recognize that in the course of litigation, they may disclose
     content that is privileged or otherwise protected from disclosure, such as attorney work
     product. The parties agree that the provisions of Rule 26(b)(5) of the Federal Rules of
     Civil Procedure shall govern with respect to the “clawback” of any privileged material
     inadvertently produced in discovery. To minimize the risk of waiving applicable
     privileges and protections and to establish a party's obligations upon the receipt of
     another party's privileged or protected content, the parties jointly request that the court
     sign and enter the proposed Federal Rule of Evidence 502(d) order attached hereto as
     Exhibit 1.




6.   Pre-Trial Motions: The parties agree that:

     (a)    For dispositive motions, they must serve moving papers by March 29, 2023.
     (b)    Hearings on dispositive motions must be held by April 28, 2023.
7.   Modification: This agreement may be modified by an agreement signed by the parties or
     by the Court for good cause shown.

8.   Electronic Service: Pursuant to Federal Rule of Civil Procedure 5(b)(2)(E), the parties
     agree to accept service of all papers in this matter by electronic means.
Dated: June 30, 2022

Respectfully submitted,


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